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17
                         UNITED STATES DISTRICT COURT
18
                        CENTRAL DISTRICT OF CALIFORNIA
19

20     IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (SKx)
21
       LEAGUE’S “SUNDAY TICKET”                       NFL DEFENDANTS’
       ANTITRUST LITIGATION                           TRIAL BRIEF
22     ______________________________
                                                      Complaint Filed: June 24, 2016
23                                                    Final Pretrial Conference: June 4, 2024
       THIS DOCUMENT RELATES TO:                      Trial Date: June 5, 2024
24
       ALL ACTIONS
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 1   I.    INTRODUCTION
 2         Pursuant to Local Rule 16-10, the NFL Defendants hereby submit this trial
 3   brief to address the following issues identified in the Proposed Final Pretrial
 4   Conference Order:
 5         1.     Whether ordinary rule of reason antitrust analysis applies, as opposed
 6                to a more abbreviated “quick look” review;
 7         2.     How the rule of reason operates in this case in light of the Ninth
 8                Circuit’s decision in Epic Games, Inc. v. Apple, Inc., 67 F.4th 946 (9th
 9                Cir. 2023);
10         3.     The effect of the Sports Broadcasting Act on the jury’s consideration
11                of Plaintiffs’ claims;
12         4.     Whether the jury should decide whether the NFL is a “single entity”
13                for purposes of producing and licensing NFL game telecasts; and
14         5.     Whether Plaintiffs are precluded from presenting their Section 2 claim
15                to the jury.
16   See ECF No. 1331-1, Proposed Final Pretrial Conf. Order, at 63; ECF No. 1187,
17   Plfs.’ Mem. of Contentions of Fact & L. (“Plaintiffs’ Contentions Memorandum”);
18   ECF No. 1185, Defs.’ Mem. of Contentions of Fact & L. (“Defendants’ Contentions
19   Memorandum”).
20
     II.   UPDATED CASE LAW AND RESPONSES TO PLAINTIFFS’
21         MEMORANDUM OF CONTENTIONS OF FACTS AND LAW
22         A.     Plaintiffs cannot satisfy the prerequisites for application of the
23
                  “quick look” doctrine.

24         As Defendants demonstrated in their Contentions Memorandum, Plaintiffs’
25   claims must be adjudicated under the full rule of reason. ECF No. 1185 at 25–28.
26   Plaintiffs have not offered any credible basis to invoke the “quick look” doctrine, nor
27   does any basis exist. Indeed, this Court already has held that the rule of reason will
28   apply at trial, requiring Plaintiffs to prove substantial anticompetitive effects in the
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 1   relevant market. ECF No. 1325, Order Granting in Part Defs.’ MIL No. 7, at 6
 2   (“‘[T]he plaintiff has the initial burden to prove that the challenged restraint has a
 3   substantial anticompetitive effect that harms consumers in the relevant market’ (“step
 4   one”) and then ‘the burden shifts to the defendant to show a procompetitive rationale
 5   for the restraint’ (“step two”).” (citation omitted)).
 6         Where, as here, Defendants offer evidence that the challenged restraints have
 7   “plausible” procompetitive benefits, “the restraint[s] [are] subjected to general rule
 8   of reason analysis requiring a full consideration of power and anticompetitive
 9   effects.” Phillip Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
10   Antitrust Principles and Their Application ¶ 1911c (4th & 5th eds. 2018–23). In such
11   circumstances, the jury is “properly instructed to analyze the alleged restraints under
12   the rule of reason.” Deutscher Tennis Bund v. ATP Tour, Inc., 610 F.3d 820, 833 (3d
13   Cir. 2010); see also, e.g., Madison Square Garden, L.P. v. Nat’l Hockey League, 270
14   F. App’x 56, 58 (2d Cir. 2008) (“A court must abandon ‘quick look’ and proceed to
15   a full-blown rule of reason analysis, however, once the defendant has shown a
16   procompetitive justification for the conduct.” (internal quotation marks and citation
17   omitted)); United States v. Brown Univ. in Providence in State of R.I., 5 F.3d 658,
18   669 (3d Cir. 1993) (“If the defendant offers sound procompetitive justifications,
19   however, the court must proceed to weigh the overall reasonableness of the restraint
20   using a full-scale rule of reason analysis.”).
21         Plaintiffs’ response ignores the current procedural posture of the case.
22   Plaintiffs cite the Ninth Circuit’s observation that they had alleged a “naked
23   restriction” on trade in their complaint. ECF No. 1187 at 24–26 (citing In re Nat’l
24   Football League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1152, 1156 (9th
25   Cir. 2019)). But that ruling is no longer relevant. The case is on the eve of trial, and
26   so long as “procompetitive justifications are proffered, their logic must be assessed
27   and rejected in order to avoid reverting to full-scale rule of reason analysis.”
28   Deutscher Tennis, 610 F.3d at 832. The Ninth Circuit could not have assessed that
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 1   question for two reasons: (i) Plaintiffs had alleged that the challenged conduct had
 2   no procompetitive effects, ECF No. 163 ¶ 119; and (ii) Defendants had no
 3   opportunity, at the motion to dismiss stage, to proffer any such justifications.
 4         The Court cannot, in the current procedural posture, “reject[]” Defendants’
 5   procompetitive rationales. As a legal matter, Plaintiffs cannot reasonably dispute
 6   whether Defendants have proffered legally viable procompetitive rationales. 1 That is
 7   evident from their arguments here as well as the fact that they did not move for
 8   summary judgment on the issue of anticompetitive effects, or otherwise attempt to
 9   satisfy their “burden” to “demonstrate that the proffered procompetitive effect[s] do[]
10   not plausibly result in a net procompetitive effect, or possibly no effect at all on
11   competition.” See Deutscher Tennis, 610 F.3d at 832 (internal quotation marks and
12   citation omitted). Any such arguments would in any event fail as an evidentiary
13   matter. Defendants’ experts and witnesses have demonstrated and will demonstrate
14   that the challenged conduct has multiple procompetitive justifications. E.g., ECF
15   No. 962-10, Expert Report of B. Douglas Bernheim, dated April 28, 2023
16   (“Bernheim Rep.”) ¶¶ 352–568. 2 Moreover, Defendants also dispute that there are
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       As Defendants explained in their Contentions Memorandum, the evidence has
     shown that the challenged restraints were core activities of a joint venture. ECF No.
20   1185 at 18. Even if the Court rejects that view, the restraints are indisputably ancillary
     to the creation and distribution of NFL football telecasts. Id. As a matter of law, an
21   ancillary restraint cannot be a naked restraint for purposes of applying the quick look
     doctrine. Aya Healthcare Servs., Inc. v. AMN Healthcare, Inc., 9 F.4th 1102, 1109
22   (9th Cir. 2021).
23
     2
       See also, e.g., Am. Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 203–04
     (2010) (noting that evidence that restraints “are essential if the product is to be
24   available at all” and “maintain [] a competitive balance” are procompetitive
     justifications for the restraints (internal quotation marks and citations omitted)); Epic
25   Games, 67 F.4th at 986–90 (identifying “[intellectual property] compensation,”
     “improved quality,” “tapping into consumer demand,” and increasing the “total
26   number” of consumers as procompetitive justifications); Viamedia, Inc. v. Comcast
     Corp., 951 F.3d 429, 478 (7th Cir. 2020) (recognizing that “higher output, improved
27   product quality, energetic market penetration, [and] successful research and
28   development” are procompetitive justifications (internal quotation marks and
     citations omitted)).
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 1   any anticompetitive effects of the challenged conduct in the first place, which makes
 2   quick look treatment even more inappropriate. See, e.g., id. ¶¶ 244–351.
 3         In sum, the applicable standard is “full-scale rule of reason analysis.”
 4   Deutscher Tennis, 610 F.3d at 832; see also id.at 833 (holding that “jury was properly
 5   instructed to analyze the alleged restraints under the rule of reason” where “defendant
 6   comes forward with [a] plausible procompetitive justification”).
 7         B.     Defendants have correctly described the rule of reason framework.
 8         Plaintiffs identified, as one of the “pending” matters from their Contentions
 9   Memorandum, “[t]he appropriate burden-shifting framework in applying the rule of
10   reason under the Ninth Circuit’s decision in Epic Games, Inc. v. Apple, Inc., 67 F.4th
11   946 (9th Cir. 2023).” ECF No. 1331-1 at 63. The disputes between the parties as to
12   the appropriate contours of the rule of reason are detailed in the Parties’ respective
13   submissions regarding disputed final jury instructions. See ECF Nos. 1360, 1364.
14   Defendants nevertheless briefly address the relevant framework in response to
15   Plaintiffs’ contentions. See ECF No. 1187 at 4–6.
16         To evaluate a restraint under the rule of reason, “a three-step, burden-shifting
17   framework applies.” Ohio v. Am. Express Co. (“Amex”), 585 U.S. 529, 541 (2018).
18         At step one of the rule of reason, the parties agree that “the plaintiff has the
19   initial burden to prove that the challenged restraint has a substantial anticompetitive
20   effect that harms consumers in the relevant market.” Epic Games, 67 F.4th at 983
21   (quoting Amex, 585 U.S. at 541).
22         At step two, the parties similarly agree that, “[i]f a plaintiff establishes at step
23   one that the defendant’s restraints impose substantial anticompetitive effects, then
24   the burden shifts back to the defendant to show a procompetitive rationale for the
25   restraint[s].” Id. at 985–86 (alteration in original) (internal quotation marks and
26   citation omitted). Defendants bear no burden to “quantify” the extent to which those
27   procompetitive rationales play out in the market. See ECF No. 1325, Order Granting
28   in Part Defs.’ MIL No. 7, at 8 (“Plaintiffs . . . cannot argue or imply that Defendants
                                                    7
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 1   have an ‘empirical burden’ to prove procompetitive effects.”). Attempts to impose
 2   such a burden on Defendants—and evade the Court’s order—should be rejected. See,
 3   e.g., ECF No. 1187 at 5 (referring vaguely to the purported “implications” of the
 4   “magnitude” of the procompetitive rationales).
 5         At step three, “the burden shifts back to the plaintiff to demonstrate that the
 6   procompetitive     efficiencies    could       be     reasonably      achieved   through   less
 7   anticompetitive means.” Epic Games, 67 F.4th at 990 (internal quotation marks and
 8   citation omitted). As the Ninth Circuit explained:
 9
           When evaluating proposed alternative means, courts must give wide
10         berth to defendants’ business judgments and must resist the temptation
11         to require that enterprises employ the least restrictive means of
           achieving their legitimate business objectives. As such, this circuit’s
12         test—which the Supreme Court approved in Alston—requires a
13         substantially less restrictive alternative. To qualify as substantially less
           restrictive, an alternative means must be virtually as effective in serving
14         the defendant’s procompetitive purposes without significantly increased
15         cost.

16   Id. (internal quotation marks, citations, and alterations omitted; emphasis in original).
17   Of note, although Plaintiffs acknowledge that they must prove a “substantially less
18   restrictive means” exists, ECF No. 1187 at 6 (emphasis added), they omitted this
19   requirement from their proposed jury instruction, see ECF No. 1364 at 51.
20         Finally, this is not a case that requires “balancing” beyond the third step. No
21   such further balancing is appropriate given that “the three-step framework is already
22   designed to identify [any] imbalance” between competitive harms and competitive
23   benefits in cases in which both are present. Epic Games, 67 F.4th at 994. With that
24   in mind, the Ninth Circuit explained that any “fourth step” requirement can be
25   satisfied in the bench trial context by “briefly confirming the result suggested by a
26   step-three failure: that a business practice without a less restrictive alternative is not,
27   on balance, anticompetitive.” Id. But this is a jury trial, and because the confirmation
28   envisioned by the Ninth Circuit is essentially coextensive with the preceding steps,
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  1   there is no need to risk confusing the jury with instructions on a purported
  2   “balancing” inquiry. That is particularly true here, as Plaintiffs have offered no reason
  3   to believe that this is the unique case requiring more than a “confirm[ation]” that “a
  4   business practice without a less restrictive alternative is not, on balance,
  5   anticompetitive.” Id.
  6         Moreover, and as the Ninth Circuit noted in Epic Games, Supreme Court
  7   precedent does not require a fourth step. The Ninth Circuit thus noted that it was
  8   “skeptical of the wisdom of superimposing a totality-of-the-circumstances balancing
  9   step onto a three-part test that is already intended to assess a restraint’s overall
 10   effect.” Id. Indeed, both parties already have dedicated more than 45 pages
 11   collectively of proposed instructions and briefing as to the first three steps of the rule
 12   of reason. ECF No. 1360 at 59–83; ECF No. 1364 at 61–80. Plaintiffs’ proposed
 13   instructions, moreover, exemplify that Ninth Circuit’s observation that no one has
 14   even been able to “articulate[] what [fourth-step] balancing really entails in a given
 15   case.” Epic Games, 67 F.4th at 994. Plaintiffs propose to tell the jury only that they
 16   “must balance those procompetitive benefits against the anticompetitive harms
 17   resulting from the same restraints.” ECF No. 1364 at 81. Plaintiffs do not even
 18   attempt to specify what it means for the jury to “balance” the alleged effects, much
 19   less specify what metric the jury should use or how that metric can be applied.
 20         C.     The SBA protects the NFL-network agreements.
 21         This Court has already held that the Sports Broadcasting Act has important
 22   implications for both liability and damages at this trial. As explained infra at 12–13,
 23   that is true for both Plaintiffs’ Section 1 and Section 2 claims. 3
 24         “[N]o party disputes that the SBA grants the NFL and clubs the right to enter
 25

 26   3
        Defendants maintain that the Sports Broadcasting Act (SBA) bars this suit as a
      matter of law and incorporate their arguments on that issue here for purposes of
 27   appeal. See ECF No. 956-1, Defs.’ Mem. Supp. Mot. Summ. J., at 4–11. Defendants
 28   now argue in the alternative that the application of the SBA turns on the factual record
      only in light of this Court’s ruling against those arguments at summary judgment.
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  1   fully exclusive contracts with CBS and FOX for free, over-the-air broadcasting.” See
  2   In re Nat’l Football League’s Sunday Ticket Antitrust Litig., 2024 WL 168298, at
  3   *11 (C.D. Cal. Jan. 11, 2024) (internal quotation marks and citation omitted). The
  4   Court’s order holds that it is only the “provisions [that] protect CBS’s and FOX’s
  5   local broadcasts from competition from the paid telecasts that are excluded from the
  6   SBA.” Id. Plaintiffs confirm this understanding of what conduct they can—and more
  7   importantly, cannot—argue violates the Sherman Act. ECF No. 1187 at 15 (“[T]he
  8   network agreements are not immunized to the extent they include provisions that
  9   restrict competition for paid telecasts such as those provided through Sunday
 10   Ticket.” (emphasis added)).
 11         Because the parties agree that the majority of the NFL-Network contracts are
 12   legally protected, it is critical that the jury understand that it may impose liability and
 13   award damages based only on conduct that falls outside of the scope of that
 14   protection. See Comcast Corp. v. Behrend, 569 U.S. 27, 37 (2013). Any purported
 15   proof of injury or damages from analyses or models that fail to “isolate” only the
 16   effects of conduct subject to challenge under the Sherman Act cannot suffice. See id.
 17   at 32, 37.
 18         D.     Whether the NFL is a “single entity” is a question for the jury.
 19         Defendants demonstrated in their Contentions Memorandum that all of
 20   Plaintiffs’ claims require threshold proof that Defendants are not a single entity for
 21   purposes of producing and licensing NFL football telecasts. ECF No. 1185 at 3–4.
 22   To reiterate: Plaintiffs must prove that the NFL and the NFL Clubs are each
 23   “independent sources of economic power” in the production and licensing of
 24   professional football telecasts, such that an agreement among them could reduce
 25   “actual or potential competition.” Am. Needle, 560 U.S. at 195–96 (internal quotation
 26   marks and citations omitted); see also Nat’l Football League v. Ninth Inning, Inc.,
 27   141 S. Ct. 56, 57 (2020) (statement of Kavanaugh, J.) (citing American Needle’s
 28   remark that “NFL teams . . . must cooperate in the production and scheduling of
                                                      10
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  1   games,” and concluding that “antitrust law likely does not require that the NFL and
  2   its member teams compete against each other with respect to television rights”); ECF
  3   No. 1360, Defs.’ Disp. Final Jury Instrs. at 42–46 (Defs.’ Arg. Supp. Defs.’ Disp.
  4   Instr. No. 46). As a practical matter, Plaintiffs’ trial evidence must establish, at a
  5   minimum, that “it is possible for the member clubs to act individually to produce
  6   telecasts.” Sunday Ticket, 2024 WL 168298, at *18.
  7         Plaintiffs’ contrary arguments misread the Court’s summary judgment order.
  8   The Court did not resolve the single entity issue for the Plaintiffs; 4 indeed, Plaintiffs
  9   did not even move for summary judgment on this basis. The Court has never been
 10   asked to conclude, nor has it concluded, that the NFL and its member Clubs are not
 11   a single entity for the purposes relevant to this lawsuit. Instead, in its order denying
 12   Defendants’ motion, the Court expressly reserved this question for the jury: “[t]here
 13   is a dispute of fact whether the NFL and its member clubs are capable of concerted
 14   action,” id. at 15, because there is a dispute of fact as to whether “it is possible for
 15   the member clubs to act individually to produce telecasts,” id. at 18.
 16         Nor did the Ninth Circuit resolve this issue. The Ninth Circuit held only that
 17   there was no legal rule—i.e., no “binding precedent”—that would overcome
 18   Plaintiffs’ allegations that the NFL and the Clubs were not required to cooperate to
 19   produce telecasts. See Sunday Ticket, 933 F.3d at 1153. That legal decision cannot
 20   resolve the factual dispute that this Court identified in its summary judgment order,
 21   of “whether the NFL and its member clubs are engaging in concerted action or acting
 22   like a single entity as to the conduct of producing telecasts.” See Sunday Ticket, 2024
 23   WL 168298, at *16.
 24         E.     Plaintiffs should not be allowed to assert a Section 2 claim at trial.
 25         Plaintiffs’ Section 2 claim should not be permitted to proceed at trial, let alone
 26   submitted to the jury, because it is wholly duplicative of their Section 1 claim. See
 27

 28
      4
       See, e.g., See ECF No. 1187 at 18 (arguing otherwise); see also ECF No. 1362-1,
      Plfs.’ Stmt. on Verdict Form at 4–5 (same).
                                                     11
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  1   ECF No. 1185 at 2–3, 22–25. Plaintiffs’ only responses rely on misstatements of the
  2   law and underscore that submitting both claims to the jury creates a substantial risk
  3   of a verdict that is both economically irrational and legally impermissible.
  4                1.     Plaintiffs’ Section 2 claim is duplicative of their Section 1
                          claim.
  5

  6         As Defendants have previously explained, the Court should preclude Plaintiffs
  7   from pursuing their Section 2 claim at trial because, to the extent Plaintiffs have not
  8   effectively abandoned the claim, it is superfluous. There is no dispute that Plaintiffs’
  9   Section 1 and 2 claims are based on the same conduct. If Defendants win on
 10   Section 1, then Plaintiffs could not possibly win on their Section 2 claim, which
 11   requires all the same proof as Section 1 and more. If Plaintiffs win on the Section 1
 12   claim, then the Section 2 claim adds nothing because there can only be one recovery
 13   of damages for the same conduct. Leaving the Section 2 claim in the case thus serves
 14   only to create the risk of an inconsistent jury verdict. ECF No. 1185 at 7–8, 24–25.
 15         Plaintiffs fail to refute these well-established principles. Indeed, Plaintiffs have
 16   not once––neither in their Contentions Memorandum, nor in the Pretrial Conference
 17   Order, nor in their arguments in support of their disputed jury instructions––
 18   identified a single case that held a Section 2 conspiracy claim can proceed where a
 19   Section 1 claim based on the same conduct fails.
 20         The few responses Plaintiffs make do not pass muster. Plaintiffs first contend
 21   that the SBA applies to their Section 1 claim but has “no bearing” on their Section 2
 22   claim. ECF No. 1364 at 97. That assertion misreads the plain text of the statute. The
 23   SBA unambiguously provides an exception to “[t]he antitrust laws,” including “as
 24   defined in section 1 of the Act of October 15, 1914.” 15 U.S.C. § 1291. Section 1 of
 25   the Act of October 15, 1914 (the Clayton Act), in turn, defines “the antitrust laws” to
 26   include the entirety of the Sherman Act. 38 Stat. 730. If Plaintiffs read footnoted dicta
 27   in the Ninth Circuit’s opinion to suggest the contrary, see Sunday Ticket, 933 F.3d at
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  1   1159 n.10, that reading cannot be squared with the plain language of section 1 of the
  2   1914 Act.
  3         Plaintiffs also fail in suggesting that a Section 1 claim might require a showing
  4   of actual market power, which (they claim) is not an element of a Section 2
  5   conspiracy claim. See ECF No. 1364 at 97 (Plfs.’ Reply re: No. 56). This argument
  6   has no bearing on how this case will be presented to the jury because neither side has
  7   proposed jury instructions indicating that a Section 1 claim requires proof of market
  8   power. See ECF No. 1331-1 at 7–9 (outlining the parties’ positions on the elements
  9   of the claims).
 10         Plaintiffs also ignore the substantial difficulties that would arise from any
 11   attempt to submit both claims to the jury. For one, any such attempt would require
 12   the Court, the parties, and ultimately the jury to argue, decide on, and then apply a
 13   complex—but wholly unnecessary—set of jury instructions. See ECF No. 1360 at
 14   84–114; ECF No. 1364 at 91–125. Moreover, Plaintiffs’ Section 2 theories ignore
 15   that any market power that the NFL may have in the alleged market for professional
 16   football telecasts is not the result of any challenged conduct, but instead arose
 17   necessarily from the merger of the NFL and the AFL in 1966, which was specifically
 18   exempted from the antitrust laws by Congress. See 15 U.S.C § 1291 (stating that the
 19   antitrust laws “shall not apply to a joint agreement by which the member clubs of
 20   two or more professional football leagues . . . combine their operations in [an]
 21   expanded single league”). Because it was unquestionably lawful for the NFL and
 22   AFL to merge, and for the Clubs in the merged league to pool their rights for purposes
 23   of broadcast licensing, see id., there is no plausible way in which the NFL and the
 24   Clubs can be said to have unlawfully conspired to give the NFL a monopoly in the
 25   market for professional football telecasts.
 26         Ultimately, the question of whether Plaintiffs’ Section 2 claims should be
 27   submitted to the jury is resolved by the Ninth Circuit’s repeated guidance that proving
 28   a Section 2 conspiracy would require Plaintiffs to prove their Section 1 claim, plus
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  1   more. See Fed. Trade Comm’n v. Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020)
  2   (“If, in reviewing an alleged Sherman Act violation, a court finds that the conduct in
  3   question is not anticompetitive under § 1, the court need not separately analyze the
  4   conduct under § 2.”); Nova Designs, Inc. v. Scuba Retailers Ass’n, 202 F.3d 1088,
  5   1092 (9th Cir. 2000) (“Because [plaintiff’s] claim under § 1 fails, its claim of a
  6   conspiracy to monopolize under § 2 based on the same conduct necessarily fails as
  7   well.”); see also Areeda & Hovenkamp, supra ¶ 809 (“Any arrangement that could
  8   be considered a ‘conspiracy’ to monopolize must necessarily also be an unreasonable
  9   ‘contract,’ ‘combination,’ or ‘conspiracy’ in restraint of trade offending §1.”).
 10                2.     Plaintiffs abandoned their “out-of-market” submarket.
 11         Plaintiffs abandoned in their proposed jury instructions their earlier argument,
 12   suggested in their Contentions Memorandum, that they might continue to assert that
 13   Defendants conspired to monopolize a purported submarket for “out-of-market”
 14   telecasts. Compare ECF No. 1364 at 91 (asserting a conspiracy to monopolize only
 15   “the market for live professional football telecasts in the United States”) with ECF
 16   No. 1187 at 10–11. Plaintiffs could not have done otherwise. As Defendants
 17   demonstrated, the concessions of Plaintiffs’ experts required them to abandon any
 18   argument premised on the existence of a “submarket” limited to out-of-market
 19   (“OOM”) professional football telecasts.5
 20         Even had Plaintiffs not abandoned this argument, it would fail. A relevant
 21   antitrust market must be a product market that “encompass[es] the product at issue
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 23
      5
        E.g., ECF No. 1185 at 23 (citing ECF No. 962-4, Expert Report of Daniel A.
      Rascher, dated February 17, 2023 (“Rascher Rep.”) § 6.1, ¶ 177 (defining only an
 24   alleged “relevant market . . . for major league professional football telecasts in the
      United States, including those of the NFL”)). Dr. Rascher, for example, affirmatively
 25   rejected any notion of a distinct OOM submarket by opining that “the NFL OOM
      telecasts are in the same relevant market as the rest of the NFL telecasts.” ECF No.
 26   962-4, Rascher Rep. ¶ 200 (emphasis added); see also ECF No. 962-5, Expert Reply
      Report of Daniel A. Rascher, dated June 9, 2023 (“Rascher Reply Rep.”) § 6.1, ¶ 110
 27   (defending his relevant market for “NFL telecasts”); ECF No. 962-29, Rebuttal
 28   Expert Report of Einer Elhauge, dated June 9, 2023 (“Elhauge Rebuttal Rep.”) § 3,
      ¶¶ 36–39 (defending Rascher’s “NFL telecasts” market).
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  1   as well as all economic substitutes for the product.” Newcal Indus., Inc. v. Ikon Off.
  2   Sol., 513 F.3d 1038, 1045 (9th Cir. 2008). And while it is “legally permissible to
  3   premise antitrust allegations on a submarket,” submarkets must still meet the
  4   standard of any antitrust product market, see id., and are legally cognizable only
  5   where the plaintiff has established “that the alleged submarket is economically
  6   distinct from the general product market,” id. (emphasis added) (quoting Brown Shoe
  7   Co. v. United States, 270 U.S. 294, 325 (1962)).
  8         Plaintiffs’ previous argument that the NFL Defendants “treat” out-of-market
  9   broadcasts as a differentiated good does not meet this standard. As a preliminary
 10   matter, Plaintiffs concede that “the close substitutes for the NFL telecasts accessed
 11   via subscriptions [i.e., via Sunday Ticket] are the other NFL telecasts not accessed
 12   via subscriptions.” 6 This leaves no dispute that all NFL telecasts are in the same
 13   product market. See Newcal, 513 F.3d at 1045. The fact that Defendants allegedly
 14   treat the Sunday Ticket product as “differentiated” from the free OTA telecasts does
 15   not change this result, as courts have routinely defined product markets to include
 16   “differentiated” goods, especially whether the goods are close substitutes. See In re
 17   Live Concert Antitrust Litig., 247 F.R.D. 98, 129 (C.D. Cal. 2007) (noting that the
 18   “contention that [the allegedly differentiated products] are differentiated products
 19   does not necessarily compel the conclusion that [products at issue], when aggregated,
 20   cannot be defined as a single market”); see also id. at 129–30 (collecting cases). 7
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        ECF No. 962-5, Rascher Reply Rep. ¶ 132; see also ECF No. 962-4, Rascher Rep.
      ¶ 199 (explaining that the “substitute products [for Sunday Ticket] are the other
 23   telecasts that consumers could view without obtaining [Sunday Ticket]”); ECF No.
      962-5, Rascher Reply Rep. ¶ 112 (“[T]he set of reasonably close substitutes for the
 24   products exchanged in the conduct at issue was NFL telecasts.”); id. ¶ 122 (“As my
      analysis shows, there are no reasonably close substitutes for an NFL telecast apart
 25   from other NFL telecasts, which is why NFL telecasts is the Relevant Market.”).
 26
      7
        See also, e.g., Areeda & Hovenkamp, supra ¶ 563 (“For antitrust purposes, we apply
      the differentiated label to products that are distinguishable in the minds of buyers but
 27   not so different as to belong in separate markets.”); see also Abbott Lab’ys v.
      Adelphia Supply USA, 2017 WL 5992355, at *11 (E.D.N.Y. Aug. 10, 2017)
 28   (“Although all antitrust markets by definition exhibit cross-elasticity of demand, few
      (continued…)
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  1                                #         #        #        #           #
  2         In the end, submitting the Section 2 claim to the jury serves no purpose. It adds
  3   nothing to the case and would only serve to give Plaintiffs two bites at the same apple
  4   (which is improper) or invite inconsistent or irreconcilable verdicts (which is
  5   obviously undesirable).
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 28   feature completely interchangeable or non-differentiated goods.” (emphasis in
      original)).
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  1   May 29, 2024                          Respectfully submitted,

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